     Case: 1:17-md-02804 Doc #: 1218 Filed: 12/31/18 1 of 2. PageID #: 29242




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                  )       CASE NO. 1:17-MD-2804
OPIATE LITIGATION                             )
                                              )       JUDGE POLSTER
                                              )
                                              )       ORDER


I.     Track Two.

       In its first Case Management Order (“CMO-1”), the Court set case management deadlines

for three “Track One” cases, all of which were brought by plaintiffs located in the Northern District

of Ohio. See CMO-1 at 6 (docket no. 232); see also CMO-7 (docket no. 876) (amending Track One

deadlines). The deadline for fact discovery in these Track One cases is January 25, 2019, at which

time the parties will turn their focus to expert discovery. CMO-7 at 2. The Court also set briefing

deadlines for numerous other cases, including one case where West Virginia law applies: Cabell

County Commission, West Virginia v. AmerisourceBergen Drug Corp., Case No. 17-OP-45053

(N.D. Ohio).

       Fact discovery and motion practice in the three Track One cases to date has revealed that

these cases include a large, but incomplete, fraction of the issues and parties relevant to the MDL.

For example, the Track One cases do not include all of the retail pharmacy defendants named in the

MDL; and the common law causes of action in Ohio are different than in other States. Accordingly,

the Court concludes it is appropriate at this time to create a “Track Two,” to encompass additional

parties and issues. Specifically, the Court chooses these two cases for Track Two: (1) the above-
      Case: 1:17-md-02804 Doc #: 1218 Filed: 12/31/18 2 of 2. PageID #: 29243




cited Cabell County case; and (2) City of Huntington, W.Va. v. Amerisource Bergen Drug Corp.,

Case No. 17-OP-45054 (N.D. Ohio).

       The Court directs the parties to meet and confer and submit to Special Master Cohen, on or

before January 15, 2019, proposed case management deadlines, see CMO-1 at ¶3.a-h, as well as any

proposed amendments or modifications to the discovery process (e.g., changes to the Deposition

Protocol, docket no. 643). Fact discovery in Track Two cases shall not begin until after January

25, 2019. The case management proposal and any suggested discovery modifications should be

agreed-to in as many respects as possible; Special Master Cohen will resolve any disputes and then

enter a case management order.



II.    Public Nuisance.

       In order to better understand State-specific variations in law, the Court directs the parties to

submit briefing addressing the viability of statutory and/or common law claims for public nuisance

in each State and territory where any MDL plaintiff is located. Plaintiffs and Defendants shall each

submit a single brief, of no more than 40 pages, on or before March 1, 2019; and shall each submit

a single response brief of no more than 20 pages on or before April 5, 2019. These briefs may be

accompanied by explanatory summary charts, if appropriate.

       IT IS SO ORDERED.


                                                      /s/ Dan Aaron Polster
                                                      DAN AARON POLSTER
                                                      UNITED STATES DISTRICT JUDGE

Dated: December 31, 2018




                                                  2
